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11
                                  UNITED STATES DISTRICT COURT
12
                                          DISTRICT OF NEVADA
13

14    TAMARES LAS VEGAS PROPERTIES,                    Case No. 2:16-cv-02933-JAD-NJK
      LLC; PLAZA HOTEL & CASINO, LLC; and
15    T-UPR, LLC,                                      STIPULATION AND ORDER RE: PAGE
                                                       LIMITS AND BRIEFING SCHEDULE
16                          Plaintiffs,                CONCERNING TRAVELERS’ POST-
                                                       JUDGMENT MOTION FOR
17    vs.                                              ATTORNEYS’ FEES AND COSTS
18    THE TRAVELERS INDEMNITY
      COMPANY,                                                     ECF No. 263
19
                            Defendant.
20

21                                            STIPULATION
22          Plaintiffs Tamares Las Vegas Properties, LLC; Plaza Hotel & Casino, LLC; and T-UPR,
23   LLC (collectively “Plaintiffs”), through the law firm of Brownstein Hyatt Farber Schreck, LLP,
24   and The Travelers Indemnity Company (“Travelers”), through the law firms Clyde & Co LLP and
25   Robinson & Cole LLP (Plaintiffs together with Travelers, the “Parties”) hereby agree and stipulate
26   as follows:
27          1.     Travelers intends to file a Motion for Attorneys’ Fees and Costs pursuant to Fed. R.
28                 Civ. P. 54(d) (“Travelers’ Motion”) on November 30, 2022. See ECF No. 262.
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 1         2.   Travelers has indicated that its Motion will seek attorneys’ fees pursuant to two

 2              statutes (NRS 18.010 and 28 U.S.C. § 1927), the Federal Rules of Civil Procedure,

 3              as well as the Court’s inherent authority.

 4         3.   Each of these legal grounds presents differing standards for seeking an award of

 5              fees, and Travelers’ Motion and Plaintiffs’ Opposition will necessarily include a

 6              significant discussion of the underlying facts and procedural history of this matter,

 7              including certain pre-suit activity, pretrial discovery practice, motion practice, the

 8              trial, and information gathered during recent post-trial discovery.

 9         4.   Additionally, and pursuant to Local Rule 54-14, Travelers’ Motion and Plaintiffs’

10              Opposition will address Travelers’ request for attorneys’ fees with thirteen

11              categories of information, which includes a discussion of the fees and costs that

12              Travelers has incurred throughout the lifetime of this matter.

13         5.   The Parties agree that there is good cause for increasing the page limits of their

14              submissions in that the aforementioned subjects cannot be adequately addressed

15              within the page limits prescribed by the Local Rules.

16         6.   In light of the foregoing, the Parties agree and stipulate as follows:

17              a.     The page limits of LR II 7-3 shall be waived for the purposes of briefing of

18                     Travelers’ Motion and Plaintiffs’ Opposition;

19              b.     Travelers’ Motion shall be limited to 45 pages in length, excluding exhibits;

20              c.     Plaintiffs’ Opposition to Travelers Motion shall be limited to 45 pages in

21                     length, excluding exhibits;

22              d.     Plaintiffs shall file their Opposition to Travelers’ Motion on or before

23                     January 20, 2023;

24   ///

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26   ///

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 1                  e.      Travelers shall file its Reply to Plaintiffs’ Opposition, and in support of

 2                          Travelers’ Motion, on or before February 10, 2023. Said Reply shall be

 3                          limited to 15 pages in length, excluding exhibits.

 4    Dated: November 22, 2022                          Dated: November 22, 2022
 5    BROWNSTEIN HYATT FARBER                           CLYDE & CO US LLP
      SCHRECK, LLP
 6
      /s/ Patrick J. Reilly              /              /s/ Lee H. Gorlin                        /
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                                                        Hartford, Connecticut 06103
12
                                                        Attorneys for Defendant
13

14

15
                                                  ORDER
16
            IT IS SO ORDERED.
17

18

19                                                         ____________________________________
                                                           UNITED STATES DISTRICT JUDGE
20                                                         DATED:11-22-22
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